                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                        EASTERN (WATERLOO) DIVISION


 UNITED STATES OF AMERICA,                    )   No.18-CR-2060
                                              )
               Plaintiff,                     )   INFORMATION
                                              )
       vs.                                    )   Count 1
                                              )     18 U.S.C. § 1343: Wire Fraud
 MICHAEL POTTER,                              )
                                              )      18 U.S.C. § 981(a)(1)(C)
               Defendant.                     )      Forfeiture Allegation


The United States Attorney charges:

                                       Count 1

                                     Wire Fraud

      1.      At all times relevant to this Information:

              a.     Individuals or entities wanting to produce or handle certified

organic grain in the United States were required to obtain certifications through the

United States Department of Agriculture’s National Organic Program (NOP). In

accordance with applicable regulations, NOP accredited third party certifiers. The

certifiers then certified operations or farmers as being eligible to produce organic

grain themselves or to handle organic grain produced by others.

              b. In order for grain to be certified as organic, the grain must have

been grown through approved methods and without the use of certain substances,

including synthetic chemicals, and produced and handled in compliance with the

National Organic Program. This would include an organic plan agreed to by the

producer or handler of such grain and approved by the third party certifier.



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              c.    Defendant operated a certified organic farm in Nebraska.

Defendant and others known and unknown to the United States Attorney’s Office

farmed the land, but defendant did not own the organic certification, which was

owned by defendant’s co-schemer or an entity operated by defendant’s co-schemer.

Defendant also farmed other land in Nebraska that was not certified as organic.

              d.    Defendant’s co-schemer also owned and operated J.S.,

which operated primarily out of Ossian, Iowa, in the Northern District of Iowa. J.S.

was in the business of selling and marketing grain labeled as organic to customers

nationwide.

              e.    Defendant sold to J.S. and others grain from fields that had

been certified as organic as well as grain from fields that were not certified as

organic.

                               The Scheme to Defraud

      2.      Beginning no later than about 2010, and continuing through at least

about 2017, in the Northern District of Iowa and elsewhere, defendant and others

known and unknown to the United States Attorney’s Office knowingly participated

in a scheme to defraud with knowledge of its fraudulent nature and knowingly

participated in a scheme to obtain money by means of material false

representations or promises. In particular, defendant sold non-organic grain to J.S.

or directly to customers that he knew defendant’s co-schemer was fraudulently

marketing as being certified organic. At least most of the grain defendant sold to

J.S. or directly to customers during this period was fraudulently marketed as




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organic because, as defendant then well knew, the grain being sold was actually

either entirely non-organic or a mix of organic grain and non-organic grain. At least

most of the grain sold was non-organic because (i) the grain was grown with

unapproved substances on fields that were not certified as organic, (ii) the grain was

grown on certified organic fields with the use of unapproved substances, or (iii) the

otherwise organic grain was commingled with non-organic grain, thereby rendering

any actual organic grain non-organic.

                         Execution of the Scheme to Defraud

      3.      The scheme and artifice to defraud and obtain money by false

pretenses was carried out, in part, as follows:

      4.      It was part of the scheme to defraud that defendant or his affiliates or

co-schemers farmed and raised grain (primarily corn and soybeans) on certified

organic fields in Nebraska under defendant’s co-schemer’s certification or an entity

controlled by defendant’s co-schemer. Growing some crops on certified organic land

allowed defendant’s co-schemers to provide certifications or representations to

customers that grain being purchased came from those organic operations and was,

therefore, organic when, in truth and fact and as defendant then well knew, the

grain being purchased by these customers was at least mostly non-organic.

      5.      It was also part of the scheme to defraud that, even on certain certified

organic fields, defendant and defendant’s co-schemers in Nebraska would apply

substances not approved for use on certified organic land, including pesticides and

nitrogen, that rendered the affected crops non-organic and that would have resulted




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in the third party-certifier decertifying the land had the certifier known about the

substances being used.

      6.      It was part of the scheme to defraud that defendant’s co-schemer

misrepresented or caused misrepresentations to customers that grain being sold

was certified organic because it was grown on certified organic land. In truth and

fact and as defendant then well knew, at least most of the grain was entirely non-

organic or a mix of organic and non-organic grain. Since at least 2010, at least most

of the grain that defendant sold to J.S. or directly to customers was not organic

because, even if there were some organic grain produced, it was often mixed with

non-organic grain prior to any of the organic grain being sold and, once commingled,

the formerly organic grain was no longer organic.

      7.      It was part of the scheme to defraud that defendant sold or caused the

sale of a significant amount of non-organic grain that was fraudulently marketed as

organic. For the years 2010 to 2017, defendant received more than $2.5 million for

grain marketed as organic that was sold through J.S. or directly to other

purchasers. That total does not include the amounts received by others known to

the United States Attorney’s Office who farmed land with the defendant, who

shared equipment with the defendant, who stored grain in the same bins as

defendant, and who, like defendant, sold grain to J.S. and to customers that was

fraudulently marketed as organic.




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                                       The Wire

      8.      For the purpose of executing and attempting to execute the scheme

and artifice to defraud and to obtain money by means of false and fraudulent

pretenses, representations, and promises, defendant used or caused to be used

interstate wire communications, that is, wire transfers of funds, to effectuate the

transfer of funds from customers of grain fraudulently marketed and sold as organic

to accounts controlled by defendant’s co-schemer or an entity owned by defendant’s

co-schemer for eventual disbursement to defendant or other co-schemers.

Specifically, on February 10, 2017, a wire transfer was sent from a customer’s

account in Sonora, California, transferring $419,417.50 from the customer’s account

into an account owned by an entity owned by defendant’s co-schemer at a bank in

Luana, Iowa, in the Northern District of Iowa.

      9.      This was in violation of Title 18, United States Code, Section 1343.

                                Forfeiture Allegation

      10.      The allegations contained in Count 1 of this information are hereby

realleged and incorporated by reference for the purpose of alleging forfeitures

pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

      11.      Upon conviction of the offense in violation of 18 U.S.C. § 1343 set

forth in Count 1 of this information, defendant shall forfeit to the United States,

pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), any property, real or

personal, which constitutes or is derived from proceeds traceable to the offense. The

property to be forfeited includes, but is not limited to, $10,882,701.




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      12.    If any of the property described above, as a result of any act or

omission of the defendant:

             a.     cannot be located upon the exercise of due diligence;

             b.     has been transferred or sold to, or deposited with, a third party;

             c.     has been placed beyond the jurisdiction of the court;

             d.     has been substantially diminished in value; or

             e.     has been commingled with other property which cannot be

                    divided without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p), as incorporated by Title 28, United

States Code, Section 2461(c).


                                              PETER E. DEEGAN, JR.
                                              United States Attorney

                                              By: /s/ Jacob A. Schunk

                                              JACOB A. SCHUNK
                                              ANTHONY MORFITT
                                              Assistant United States Attorneys




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